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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
--------------------------------------------------------------x
DOROTHY MCCULLOUGH,                                            :
                                                               :
                                    Plaintiff,                 :   ORDER GRANTING
                                                               :   MOTION FOR ADMISSION
                  v.                                           :   PRO HAC VICE
                                                               :
UFCW LOCAL 152 RETAIL MEAT                                     :
PENSION FUND,                                                  :   Civil Action No:
                                                               :   1:17-cv-06578-NLH-KMW
                                    Defendant.                 :
--------------------------------------------------------------x

         Upon the Unopposed Motion for Richard S. Siegel, Esq. to be admitted pro hac vice to

represent Defendant UFCW Local 152 Retail Meat Pension Fund in the above-referenced case

and upon the proof that he is a member in good standing of the bars of the District of Columbia

and the State of Maryland, it is hereby ORDERED that Richard S. Siegel, Esq. is admitted to

practice pro hac vice in the above-referenced case to represent Defendant UFCW Local 152

Retail Meat Pension Fund in the United States District Court for the District of New Jersey

provided that the filing fee has been paid.


Dated: October    , 2017                                       ________________________________
Camden, New Jersey                                             The Honorable Karen M. Williams
                                                               United States Magistrate Judge


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